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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS

Timothy Joseph, Smithe and Mary Astor, Smithe, Private Unalienable Christian Names,co heirs

with Christ and beneficiaries,

% 203 S Clarence Street, Wichita, Kansas,                                                    FILED
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                                                                                           Oh,trict of Kansas

Plaintiffs,
                                                                                     JUN 09 2025
V.
                                                                                   Clerk~SZJict Court
                                                                                   By - .u.J.-4---Deputy Clerk
United States Postal Service, et al., Defendants.

Case No.: 25-CV.-1072

MOTION TO SHIFT DISCOVERY COSTS

COME NOW Plaintiffs, Timothy Joseph, Smithe and Mary Astor, Smithe, with private

unalienable Christian names Timothy and Mary, property of Jesus Christ, appearing prose as

co-heirs with Christ (Romans 8: 17), and move this Honorable Court, pursuant to Fed. R. Civ. P.

37 and D. Kan. Rule 54.2, to shift discovery costs to Defendants in our action alleging fraud,

identity theft, involuntary servitude, tortious trespass, and unjust enrichment against 32

Defendants. Guided by tmth (John 8:32) and Colossians 2:14, which cancels legal and spiritual

debts for living men and women, we state before this God-ordained Comt (Romans 13: 1-7):


      1. Basis for Request: Plaintiffs, as pro se litigants with limited financial resources,

              cannot afford discovery costs, including subpoena service fees (~$15-$50 each) for

              documents from Defendants (IRS, BIA, BFS, USPS, H&R Block, Fidelity, Wells

          Fargo, Bank of America, Wintrust, Discover, Citibank, JPMorgan Chase, TriState,

          Ocwen) sought in our Motion for Issuance of Subpoenas (filed June 9, AD 2025).

          These docmnents evidence fraudulent use of our SSNs via a synthetic 'person'

          (Bouvier's Law Dictionary, 1856), imposing debts ($800,000 lien, Exhibit A-6) and
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          withholding gains (close to $300,000. 00 credit, Exhibit A-5), supporting our $2 billion

          claim (Amended Complaint, Doc. 33-1).

      2. Justification: Defendants' actions, including IRS theft (~$50,000, Exhibit A-6,

          Exodus 22:7), BIA's and BFS's concealment of a special fund (USPS refund, Exhibit

          A), USPS's complicity in fraudulent notices (Exhibit A), and private Defendants'

          accommodation party misuse (Exhibit A-1, A-2, A-6), necessitate discovery to uncover

          income (Bouvier's, 1856) and indebiti solutio payments (Bouvier's, 1856). Shifting

          costs is equitable, as Defendants' fraud caused this litigation.

      3. Good Cause: Cost-shifting prevents undue burden on Plaintiffs, ensures access to

          critical evidence, and supports our claims against Defendants' motions to dismiss (e.g.,

          H&R Block, May 30, AD 2025; federal Defendants, June 3, AD 2025), before this

          God-ordained Cowi (Romans 13:1-7).


WHEREFORE, Plaintiffs request the Court order Defendants to bear all discovery costs,

including subpoena service fees, and grant relief as just (John 16:33).

Dated: June 9, AD 2025               ~M ~                                 f'n    (}.         ;j--hQ_
/s/ Timothy Joseph, Smithe and Mary  A
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